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                            EXHIBIT 5
         Case 3:19-cv-02437-DMS-RBB Document 9-7 Filed 03/11/20 PageID.249 Page 2 of 6


Philip Abbruscato

From:                                            Consumer Case Filing Team <ConsumerFiling@adr.org>
Sent:                                            Thursday, November 14, 2019 11:25 AM
To:                                              David George
Cc:                                              Damon Wright; Andi Weber; Kevin Green; Philip Abbruscato; Consumer Case Filing
                                                 Team; Thomas Lyons Jr; crnelson@venable.com; dsilverman@venable.com
Subject:                                         RE: Tyanna Walker, et al. v. The Control Group Media Company, Inc. - Case
                                                 01-19-0003-3434


Good Morning,

The AAA acknowledges receipt of the parties’ comments and the respondent’s objection to the consolidated
filing. Absent receipt of party agreement to consolidate, the AAA must move forward with individual demands
for arbitration and separate case numbers. Accordingly, the AAA requests amended demands for each
individual on or before November 22, 2019. Absent receipt of an amended demand(s) on or before that date, the
AAA will close its file.

Thank you,
Consumer Filing Team




                    Consumer Case Filing Team

                    1101 Laurel Oak Road
                    Suite 100, Voorhees, NJ 08043
                    E: ConsumerFiling@adr.org


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use, disclosure, distribution or copying of this transmittal is prohibited except by or on behalf of the intended recipient. If you have received this transmittal in error,
please notify me immediately by reply email and destroy all copies of the transmittal. Thank you.


From: David George <DGeorge@BakerWotring.com>
Sent: Tuesday, November 12, 2019 2:37 PM
To: Consumer Case Filing Team <ConsumerFiling@adr.org>
Cc: Damon Wright <dwright@grsm.com>; Andi Weber <Andi@ConsumerJusticeCenter.com>; Kevin Green
<kevingreen68@gmail.com>; Philip Abbruscato <pabbruscato@grsm.com>; Thomas Lyons Jr
<Tommy@ConsumerJusticeCenter.com>
Subject: Re: Tyanna Walker, et al. v. The Control Group Media Company, Inc. - Case 01-19-0003-3434

   *** External E-Mail – Use Caution ***


Consumer Filing Team:

I am one of the lawyers for the claimants in this matter. I am writing in response to the November 8, 2019 email from
the respondents’ counsel Damon Wright regarding this matter having multiple claimants. Mr. Wright stated that under
the United States District Court’s order and the arbitration agreement, “claimants are prohibited from filing one case
                                                                                       1
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with multiple claimants and instead each claimant must file his or her own separate claim in a separate
proceeding.” That is incorrect.

When the case was pending in United States District Court for Southern District of California, the parties filed a joint
motion to dismiss the case without prejudice to allow the parties to arbitrate, which the district court granted. I have
attached the motion and the order. They say that "claims must be brought in the claimants’ individual capacity and not
in a representative or class capacity before an arbitrator from the American Arbitration Association." Each claimant is
bringing his or her own claims on their own behalf. None are "in a representative or class capacity." There was no
prohibition on joining multiple claimants in one action.

In addition, I am attaching email correspondence with Mr. Wright from June 2019 regarding the language in the motion
and order. Mr. Wright had requested language saying the "claims must be brought on an individual basis." Mr. Wright
agreed to take out that language and instead substitute language saying the "claims must be brought in the claimants'
individual capacity and not in a representative or class capacity." The respondents, therefore, recognized that the claims
could be brought together (i.e., not on an “individual basis”) as long as the claimants were bringing their claims on their
own behalf and not seeking to bring the claims of other people in a representative or class capacity.

The district court’s order is consistent with the arbitration agreements. There are two arbitration agreements
potentially at issue in this case, both of which are attached. The arbitration agreements state that the “claims shall be
brought solely in the party’s individual capacity, and not as a plaintiff or class member in any purported class,
representative proceeding or private attorney general capacity. The parties further agree that the arbitrator may not
consolidate more than one person’s claims, and may not otherwise preside over any form of a representative or class
proceeding.” Arbitration Agreement ¶¶ 3 & 17. The claimants are each bringing their claims in their individual
capacities and are not representing any other person or entity. In addition, the matter was filed with multiple claimants
and the claimants have not sought to have the arbitrator consolidate claims.

In summary, under the district court’s order and the arbitration agreements, the claimants are allowed to file their
claims together in a single arbitration as long as they are not seeking to bring claims on behalf of others. That is what
the claimants have done here. Please let me know if you have any questions regarding this or need further
information. Thank you for your assistance.



David George
Baker · Wotring LLP
700 JPMorgan Chase Tower
600 Travis Street
Houston, TX 77002
713.980.6513 Direct
713.857.2280 Cell
713.980.1700 Main
713.980.1701 Fax
dgeorge@bakerwotring.com
www.bakerwotring.com

Board Certified-Civil Appellate Law
Texas Board of Legal Specialization

From: Damon Wright <dwright@grsm.com>
Sent: Friday, November 8, 2019 5:28 PM
To: 'Consumer Case Filing Team' <ConsumerFiling@adr.org>; Thomas Lyons Jr <Tommy@ConsumerJusticeCenter.com>
                                                             2
      Case 3:19-cv-02437-DMS-RBB Document 9-7 Filed 03/11/20 PageID.251 Page 4 of 6
Cc: Andi Weber <Andi@ConsumerJusticeCenter.com>; David George <DGeorge@BakerWotring.com>; Kevin Green
<kevingreen68@gmail.com>; Philip Abbruscato <pabbruscato@grsm.com>
Subject: RE: Tyanna Walker, et al. v. The Control Group Media Company, Inc. - Case 01-19-0003-3434

Consumer Filing Team,

We write on behalf of respondents. We cannot “confirm this is one case with multiple claimants” because it should not
have been so filed. Pursuant to the U.S. District Court’s 9/13/19 Order compelling arbitration which found that
claimants are bound by respondents’ mandatory arbitration provisions and the operative mandatory arbitration
provisions which expressly prohibit consolidation of claims, claimants are prohibited from filing one case with multiple
claimants and instead each claimant must file his or her own separate claim in a separate proceeding. We alerted
claimants’ counsel to this on 10/17/19, but understand claimants’ counsel has a different view.


DAMON W.D. WRIGHT | Partner
GORDON REES SCULLY MANSUKHANI
(703) 973-8776 (cell)
1101 King Street, Suite 520
Alexandria, VA 22314
dwright@grsm.com
www.grsm.com
vCard



        From: Consumer Case Filing Team <ConsumerFiling@adr.org>
        Sent: Friday, November 8, 2019 4:26 PM
        To: Thomas Lyons Jr <Tommy@ConsumerJusticeCenter.com>
        Cc: Andi Weber <Andi@ConsumerJusticeCenter.com>; David George <DGeorge@bakerwotring.com>; Kevin
        Green <kevingreen68@gmail.com>; Consumer Case Filing Team <ConsumerFiling@adr.org>; Damon Wright
        <dwright@grsm.com>; cscrook@venable.com
        Subject: RE: Tyanna Walker, et al. v. The Control Group Media Company, Inc. - Case 01-19-0003-3434

        Hello,

        Thank you for your correspondence, we have added Mr. Weber to the case to receive correspondence. Please
        see attached the AAA request for fees of $3050 to the respondent as well as our consumer fee schedule. As long
        as all the claimants are under one case any over payment will be refunded. Please confirm this is one case with
        multiply claimants.

        Thank You,
        Consumer Filing Team




                       Consumer Case Filing Team

                       1101 Laurel Oak Road
                       Suite 100, Voorhees, NJ 08043
                       E: ConsumerFiling@adr.org


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 From: Thomas Lyons Jr <Tommy@ConsumerJusticeCenter.com>
 Sent: Wednesday, November 6, 2019 5:34 PM
 To: Consumer Case Filing Team <ConsumerFiling@adr.org>
 Cc: Andi Weber <Andi@ConsumerJusticeCenter.com>; David George <DGeorge@bakerwotring.com>; Kevin
 Green <kevingreen68@gmail.com>
 Subject: RE: Tyanna Walker, et al. v. The Control Group Media Company, Inc. - Case 01-19-0003-3434
 Importance: High

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 AAA Consumer Filings –

 2 issues regarding this case:

      1.    Please add my legal assistant (copied above) to the email list of recipients for all emails going forward.
      2.    This case involves several claimants and therefore we paid $200 per claimant or approximately
            $3000. Respondent however is only being asked to pay a total of $300 instead of $300 x the total
            number of claimants. Please revise your letter dated 11/5/19 to The Control Group and increase the
            amount accordingly. Otherwise please refund me the amount of my over payment.

 Any question please call me directly.

 Thank you -

 Thomas J. Lyons, Jr.
 Attorney at Law
 Consumer Justice Center, P.A.
 367 Commerce Court
 Vadnais Heights, MN 55127

 (651) 770-9707
 (651) 704-0907 Fax
 tommy@consumerjusticecenter.com
 www.consumerjusticecenter.com

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         NOTE: Nothing in this message should be construed as legal advice or the creation of an attorney-client
         relationship.


         From: ConsumerFiling@adr.org <ConsumerFiling@adr.org>
         Sent: Tuesday, November 5, 2019 11:20 AM
         To: cscrook@venable.com; kevingreen68@gmail.com; dsilverman@venable.com; dgeorge@bakerwotring.com;
         Thomas Lyons Jr <Tommy@ConsumerJusticeCenter.com>
         Subject: Tyanna Walker, et al. v. The Control Group Media Company, Inc. - Case 01-19-0003-3434

         Hello,

         Please review the attached correspondence regarding the above-referenced case.

         Feel free to contact me with any questions, comments or concerns you have related to this matter.

         Thank you.



                        Consumer Case Filing Team

                        1101 Laurel Oak Road
                        Suite 100, Voorhees, NJ 08043
                        E: ConsumerFiling@adr.org


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